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                IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 In re:                                                  Chapter 11

 CAESARS ENTERTAINMENT                                   Case No. 15-01145 (ABG)
 OPERATING COMPANY, INC., et al.,
                                                         Jointly Administered
                          Debtors.

                          DECLARATION OF JEFFREY CHUBAK
                     IN FURTHER SUPPORT OF EARL OF SANDWICH’S
                            SUMMARY JUDGMENT MOTION

          I submit this reply declaration in further support of Earl of Sandwich (Atlantic City), LLC’s

summary judgment motion. Attached hereto as Ex. 15 is a true and correct copy of the transcript

of the deposition of Peter Lupoff. I declare under penalty of perjury that the foregoing is true and

correct.

Executed on October 8, 2018

                                                        /s/ Jeffrey Chubak
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                                  EXHIBIT 15

                           Lupoff Deposition Transcript
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 2        IN THE UNITED STATES BANKRUPTCY COURT FOR THE
 3                       NORTHERN DISTRICT OF ILLINOIS
 4                                    EASTERN DIVISION
 5

 6

         In re:                                     )Chapter 11
 7                                                  )
         CAESARS ENTERTAINMENT                      ) Case No. 15-01145
 8       OPERATING COMPANY, INC.,                   )        Jointly
         et al.,                                    )     Administered
 9                                                  )
                         Debtors.                   )
10       ----------------------------
11

12

13

14                       DEPOSITION OF PETER LUPOFF
15                              New York, New York
16                        Tuesday, August 14, 2018
17

18

19

20

21

22

23       Reported by:
         LISA MURACO
24       JOB NO. 146105
25


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 1                                                        1
 2                                                        2    A P P E A R A N C E S:
 3              Tuesday, August 14, 2018                  3
 4              10:00 a.m.                                4
 5                                                        5       STORCH AMINI
 6                                                        6       Attorneys for Debtor
 7         Deposition of PETER LUPOFF, held at            7          2 Grand Central Tower
 8     the offices of DRINKER BIDDLE & REATH LLP,         8          140 East 45th Street
 9     1177 Avenue of the Americas, New York, New         9          New York, New York 10017
10     York, before LISA M. MURACO, a Notary             10       BY: JEFFREY CHUBAK, ESQ.
11     Public of the State of New York.                  11
12                                                       12
13                                                       13       DRINKER BIDDLE & REATH
14                                                       14       Attorneys for Peter Lupoff
15                                                       15          1177 Avenue of the Americas
16                                                       16          New York, New York 10036
17                                                       17       BY: CLAY PIERCE, ESQ.
18                                                       18
19                                                       19
20                                                       20
21                                                       21
22                                                       22
23                                                       23
24                                                       24
25                                                       25


                                              Page 4                                                Page 5
 1                  P. Lupoff                             1                 P. Lupoff
 2     P E T E R L U P O F F,                             2   or testified in trial in connection with the
 3        called as a witness, having been duly sworn     3   failed bankruptcy trade claim?
 4        by a Notary Public, was examined and            4       A. No.
 5        testified as follows:                           5       Q. Did you prepare an expert report in
 6     EXAMINATION BY                                     6   connection with the Fulcrum litigation?
 7     MR. CHUBAK:                                        7       A. I did.
 8        Q. State your full name for the record,         8       Q. Following the conclusion of this
 9     please.                                            9   deposition, can you provide me with a copy of
10        A. Peter Lupoff.                               10   that report.
11        Q. Good morning.                               11           MR. PIERCE: We'll take the request
12        A. Hi.                                         12       under advisement. I think we're in
13        Q. Mr. Lupoff, have you ever been              13       communication right now, trying to get a
14     deposed before?                                   14       copy of it.
15        A. Yes.                                        15           MR. CHUBAK: Okay.
16        Q. Can you tell me the matters in which        16           (Lupoff Exhibit 1, subpoena, marked
17     you've been deposed in.                           17       for identification.)
18        A. The matter regarding a failed trade         18           MR. PIERCE: So just so you
19     in Westinghouse, where White Box as plaintiff,    19       understand the process, Peter, Mr. Chubak
20     Landstar, defendant.                              20       is going to be marking documents which he's
21             And Fulcrum versus Strategic, which       21       going to be handing to you. Each of them
22     was a failed trade claim, back in -- I think it   22       will be called an exhibit. He'll ask you
23     was 2011.                                         23       some questions about them. You have a
24        Q. And prior to the Fulcrum litigation,        24       right to read them before answering
25     have you -- had you been deposed in connection    25       questions. But that's the first exhibit.


                                                                                 2 (Pages 2 to 5)
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 1                    P. Lupoff                            1                P. Lupoff
 2              THE WITNESS: Okay.                         2   attached schedule."
 3      BY MR. CHUBAK:                                     3       A. I see it.
 4          Q. Have you received a copy of this            4       Q. I'm going to refer you to the last
 5      document before today?                             5   page that says "Schedule."
 6          A. It may have come as an attachment to        6       A. Okay.
 7      an e-mail. I don't recall it offhand.              7       Q. Do you understand that this document
 8          Q. Do you understand that this document        8   commanded you to bring the documents identified
 9      commanded you to bring certain documents to        9   in paragraph 1 through 5?
10      today's deposition?                               10       A. I understand that now, yes.
11          A. I don't understand that. Does that         11       Q. Do you understand -- your counsel,
12      -- I can read it now, if you'd like me to.        12   prior to the start of this deposition --
13          Q. Yeah, please.                              13   withdrawn.
14              (Witness complies.)                       14           Prior to the start of this
15          A. This is probably the first time I'm        15   deposition, Mr. Pierce represented that you had
16      reading it, since that's the first time I've      16   not brought any documents in connection with --
17      been aware that there was an obligation for       17   withdrawn.
18      today, other than coming.                         18           I'm going to ask you several
19          Q. Okay. I'm going to refer you to the        19   questions about the documents identified in
20      middle of the first page, where there's the       20   this list.
21      italicize word "Production."                      21           The first paragraph asked you to
22              It says: "You or your                     22   bring the purchase and sale agreement for the
23      representatives must bring with you to the        23   last 20 bankruptcy trade claims that you've
24      deposition the following documents."              24   been involved in.
25              And then it says: "Says see               25           Can you identify the last 20

                                              Page 8                                                 Page 9
 1                   P. Lupoff                             1                 P. Lupoff
 2      bankruptcy trade claims that you've been in        2           That's a very quick thing to figure
 3      involved in?                                       3   out, and also don't believe we brought any in
 4               MR. PIERCE: Object to form.               4   the period of time of 2009 and 2017, when I
 5               You can answer.                           5   operated Tiburon.
 6          A. I probably couldn't create a                6           At Millennium, however, I'm fairly
 7      complete list of 20. I could probably provide      7   certain we brought one or two, but only one or
 8      a list that might have 50 to 100 names on it,      8   two. For those, I could probably -- I'm fairly
 9      and contained in that list would be the last       9   certain I know at least one of them.
10      20.                                               10           And I am unclear if we purchased a
11          Q. Can you tell me the purchasing             11   second one. That I have a name of a second
12      entity in connection with those 50 to 100         12   one, it's plausible.
13      trades?                                           13           The entity at Millennium could have
14               MR. PIERCE: Objection to form.           14   been any number of Millennium entities. And
15               You can answer.                          15   since I didn't construct the paperwork for the
16          A. Not -- I can probably provide a            16   trade and wouldn't have filed transfers, it
17      number of names where it's possible. I don't      17   would have been a different department within
18      believe we purchased any trade claims in any of   18   Millennium. Millennium is pretty segmented.
19      our Tiburon entities, although I'm not 100        19           We need to hear from them, given the
20      percent certain of that. And there were at        20   fact they created separate units or separate
21      least a dozen entities that possibly could have   21   specialized investment vehicles in order to do
22      been a counter-party. Although more than          22   these kinds of transactions. I would not know
23      likely at Tiburon, we used one vehicle for this   23   that.
24      kind of purpose, and I would have imagined        24           I could probably come up with five
25      that's where that would have been done.           25   or six various Millennium entities that's


                                                                                  3 (Pages 6 to 9)
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 1                    P. Lupoff                            1                 P. Lupoff
 2      plausible and still potentially get wrong what     2   seat in Millennium or at any firm where I
 3      the entity was.                                    3   manage risk, as part of managing risk I have
 4              It's also feasible that we own             4   the ability to allocate capital to distress as
 5      claims at Millennium through a participation       5   a strategy, and then within distressed as a
 6      structure through a third-party broker-dealer,     6   strategy, I have the ability to allocate
 7      in which case there wouldn't be a purchase and     7   capital to trade claims.
 8      sale agreement or a 3001, and there would have     8           In any way that that expression of
 9      been ownership of claims.                          9   risk comes in a document, those entities,
10         Q. I'm asking specifically about claim         10   Millennium, Robeco, Tiburon, every one of them
11      trades that you have been involved in, not        11   have multiple vehicles that may be the basis
12      Millennium generally.                             12   under which the actual paperwork is done.
13         A. Oh, me?                                     13           In all of those places, I would have
14         Q. Yeah.                                       14   been the person on a call or through an
15         A. As a person?                                15   electronic medium that would have said, "I buy
16         Q. Yeah.                                       16   or I sell X, Y, Z trade claim for Y price and Z
17              MR. PIERCE: Object to the form.           17   amount." I might not have done the paperwork,
18         You're asking trade claims that Peter          18   and the entity might not specifically have
19         Lupoff brought for his own account?            19   been, say, Millennium Partners LP or Robeco
20              MR. CHUBAK: No. Whether at                20   Weiss Peck & Greer distressed/special sits
21         Millennium that he's personally been           21   fund. The fund I ran there might have been an
22         involved in. Not a separate department.        22   entity that was set up just for the purpose of
23         A. No, this isn't a separate                   23   doing private obligations. And that, I
24      department. You're asking for the names of the    24   wouldn't necessarily know or recall.
25      entities, and what I'm saying is, sitting in my   25       Q. Were you involved in the negotiation

                                             Page 12                                                Page 13
 1                  P. Lupoff                              1                P. Lupoff
 2      of any bankruptcy trade claims while at            2       going to be here all day.
 3      Millennium?                                        3       A. All right.
 4         A. When you say "negotiation," do you           4           MR. CHUBAK: Please don't interrupt
 5      mean the documentation, or do you mean the         5       me mid question other than for an
 6      purchase?                                          6       objection.
 7         Q. Discussions with sellers or                  7       A. I do need to understand if --
 8      potential sellers.                                 8   because -- not to parse words, but am I
 9             MR. PIERCE: Object to the form.             9   speaking to a seller of trade claims? If I'm
10             You can answer.                            10   speaking to an intermediary, or only to the
11         A. Okay. Yes.                                  11   original vendor?
12         Q. Can you identify which sellers or           12       Q. Are you asking about buying a broker
13      potential sellers you engaged directly.           13   claim?
14         A. At Millennium in particular, or my          14           MR. PIERCE: Object to the form.
15      last 20?                                          15       A. I don't really distinguish, but
16         Q. Within the last 15 years.                   16   yeah, I'm asking if, when you say the last 20
17         A. Yes, I can.                                 17   claims I bought, can I name who I bought those
18         Q. Please, tell me.                            18   claims from, do you mean the original creditor
19         A. Okay. So some of the ways in I'm            19   or the vendor itself, or the intermediary that
20      which I'm engaged --                              20   put it together?
21             MR. PIERCE: Peter, I'm going to            21       Q. Why don't you tell me the person or
22         interrupt you. Give him names, okay?           22   entity listed on the 3001 notice?
23         That's what he's asking for. Just give him     23           MR. PIERCE: Object to the form.
24         the names. Answer his question as directly     24       A. It's easier to tell you who I spoke
25         and succinctly as you can, otherwise we're     25   to and said, "You're done." It's harder to say


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 1                  P. Lupoff                             1                P. Lupoff
 2     who was on a 3001, because in some instances, I    2       Q. Yes.
 3     didn't see the 3001.                               3       A. So there's no more than three and no
 4             In other instances, the dealer may         4   less than one at Millennium.
 5     have bought the claims from the original           5           At Millennium, we spoke to Deutsche
 6     vendors, and then I bought them from a dealer,     6   Bank's desk on a claim -- I believe that claim
 7     and the dealer may have been in the chain of       7   was Lehman Brothers. What I don't recall was
 8     title. And therefore, I'm a 3001.                  8   whether we bought it or not.
 9             There are very many permutations           9           And I don't recall who the
10     about how this could get done. I could explain    10   underlying claimants were, or if they were in
11     all of those, if you like.                        11   -- my belief is that they were in aggregate a
12         Q. I think I'd like you to explain all        12   variety of claims pooled with Deutsche Bank as
13     of those.                                         13   the counter-party, and Deutsche Bank selling
14         A. Okay.                                      14   the participation in an SIV.
15             MR. PIERCE: I'm sorry. Could you          15           Bought a claim, and I don't recall
16         read back the last question.                  16   if we did that or not, but that was the
17             (Question was read back as follows:       17   structure of that deal.
18             "QUESTION: I think I'd like you to        18           We bought a claim in the Death Row
19         explain all of those.")                       19   Records bankruptcy. And I don't recall if we
20             MR. PIERCE: You can answer.               20   bought that through a broker or through a
21         A. So I'm going to further break it           21   lawyer. Because we did seek claims both
22     down and ask you the question: Do you want to     22   through a broker and through a lawyer. And we
23     know just the claims that are bought, or where    23   bought one.
24     I have engaged? You're talking about just         24           One of them failed. The broker --
25     closed claims, right?                             25   this is my best recollection, was Fulcrum out

                                            Page 16                                                Page 17
 1                   P. Lupoff                            1                 P. Lupoff
 2     of Austin. I could be wrong. That's my best        2   couldn't tell you.
 3     recollection. And the lawyer was an LA-based       3       Q. What about in connection with the
 4     lawyer. I couldn't tell you the name.              4   Death Row Records bankruptcy?
 5             And that probably is the sum total         5       A. That's exactly what I'm talking
 6     of all claims at Millennium that either traded,    6   about. Those very few trades of Millennium, I
 7     that we actually closed, or that we attempted      7   couldn't tell you what the entity for
 8     to close and didn't.                               8   Millennium was that housed that asset.
 9             And like I said, with the Lehman           9       Q. I'm going to refer you to
10     Brothers, I just simply don't recall. But I do    10   paragraph 5 of the subpoena.
11     recall the structure and the people pretty        11       A. Yes.
12     intimately.                                       12       Q. Have you written on any
13         Q. Do you remember the name of the            13   bankruptcy-related matters in the past
14     purchasing entity in connection with any of       14   20 years?
15     those trades?                                     15       A. I was just thinking about this.
16             MR. PIERCE: Object to the form.           16   It's feasible that the closest any came was an
17         A. In none of those circumstances at          17   article I wrote in 2014 about energy prices
18     Millennium would I have been involved in          18   crashing and the ramifications for bankruptcy
19     anything more than a conversation with in-house   19   in -- amongst high-yield issuance in the energy
20     counsel, who would have done the documentation    20   sector.
21     on terms of the purchase and sale agreement.      21       Q. Did that article have anything to do
22     But the actual entity that held that, as far as   22   with bankruptcy trade claims?
23     I was concerned, if I saw it in my PNL, I owned   23       A. I don't imagine I got specific about
24     it. I didn't really need to understand it was     24   instruments, no.
25     MLP LLC or Millennium Partners, LLC. I            25           MR. CHUBAK: I'd like to mark this


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 1                   P. Lupoff                             1                P. Lupoff
 2         as Lupoff 2.                                    2      Q. Is it a technical defect that the
 3              (Lupoff Exhibit 2, Summary and             3   version that I was sent was not signed?
 4         Opinion of Peter M. Lupoff, marked for          4      A. Yeah, this seems unusual --
 5         identification.)                                5          MR. PIERCE: Object to the form.
 6      BY MR. CHUBAK:                                     6          Go ahead. You can answer.
 7         Q. Do you recognize this document?              7          You need to give me a moment to
 8         A. I do.                                        8      object.
 9         Q. Can you tell me what it is.                  9      A. Okay. Sorry.
10         A. It's the expert report that I               10          I'm fairly certain I signed the
11      generated related to this case.                   11   document that was filed, yes.
12         Q. I'm going to refer you to page 8 of         12          MR. PIERCE: Counsel, I'm happy to
13      the report.                                       13      send you a signed copy of this.
14         A. Okay.                                       14          MR. CHUBAK: Okay.
15              Yes.                                      15   BY MR. CHUBAK:
16         Q. It's unsigned. I assume that's a            16      Q. I'm going to refer you to Exhibit
17      technical defect; is that correct?                17   A --
18         A. I've seen versions of this --               18      A. Yes.
19              MR. PIERCE: Object to form.               19      Q. -- on the following page.
20              Which?                                    20          Is this a correct copy of your
21              MR. CHUBAK: Which?                        21   resume as of the date of the report?
22              MR. PIERCE: You're asking him if          22      A. Yes.
23         it's unsigned, or you're asking him if it's    23      Q. What was your role at Bank of New
24         a technical defect?                            24   York? I'm referring to --
25      BY MR. CHUBAK:                                    25      A. I was part of a three-person team

                                             Page 20                                                Page 21
 1                    P. Lupoff                            1                P. Lupoff
 2      that started their loan sales and syndications     2   through the process?
 3      department. I was most intimately involved in      3      Q. Yes.
 4      the outward-facing part of that process,           4      A. Okay. Today, or then? It differs.
 5      developing and dealing with the buyers of          5      Q. Then.
 6      loans.                                             6      A. In 1990 -- in 1988 through 1990,
 7         Q. Did your team trade bankruptcy               7   there was an explosion in highly leveraged
 8      claims?                                            8   transactions, HLT's, as they were described,
 9         A. No.                                          9   which was the bank loan equivalent of the junk
10         Q. What was your role at CIBC?                 10   bonds and seniored -- and they were -- the
11         A. I went to CIBC to start a                   11   loans were seniored to those bonds.
12      freestanding loan trading business, where I had   12          Loans -- the syndicated loans are
13      authority to trade large syndicated loans         13   evidenced by a credit agreement. Credit
14      independent of the bank's decisions about         14   agreement is signed to by the agent of the
15      taking risk.                                      15   borrower. And signatories to that initial
16         Q. Is a syndicated loan different from         16   syndication are those banks that step up to
17      -- withdrawn.                                     17   fund the entirety of the loan that's placed.
18              How do syndicated loans trade?            18          When syndication breaks, as the
19         A. How do syndicated --                        19   expression goes, parties to the syndicated loan
20              MR. PIERCE: Object to form.               20   agreement, which are referred to as assignees,
21      BY MR. CHUBAK:                                    21   or original signatories, have the right to
22         Q. How do syndicated loans trade?              22   further on sell additional exposure or buy
23              MR. PIERCE: Object to form.               23   additional exposure in secondary markets.
24              You can answer.                           24          The secondary market was beginning
25         A. Would you like me to step you               25   to develop 1987, on. And so, in my time at


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 1                   P. Lupoff                             1                 P. Lupoff
 2      CIBC, the way we would do loan trades at the       2   commitment letter. I would send them a form,
 3      time was, we would make a -- what's referred to    3   an assignment agreement, which by that time was
 4      as a two-sided market, calling other banks.        4   typically an exhibit to the credit agreement.
 5      Other banks would call us. That -- they would      5           We would execute that. We would
 6      hear that the X, Y, Z bank facilities syndicate    6   send it to the agent. Oftentimes, it required
 7      just broke. They would understand the pricing,     7   agent and borrower consent. Such consent not
 8      the company they're interested in. There was       8   to be unreasonably withheld.
 9      an explosion of foreign bank branch offices        9           And that buying bank would own the
10      that came to the states to allocate capital to    10   loan. That's the way it worked then.
11      syndicated loans.                                 11       Q. In your role as vice president at
12              And the way most of them bought           12   CIBC, were you involved in any bankruptcy trade
13      those syndicated loan was in a secondary          13   claims?
14      market, meaning secondary -- the first market     14       A. No.
15      being the initial syndication and then the        15       Q. While at MJ Whitman Third Avenue
16      secondary market being how loans were traded.     16   Funds -- withdrawn.
17              And then quickly to get through this      17           Your resume states that you managed
18      point for you, a bank would call and say, "I'd    18   all activities as principal agent in distressed
19      like to buy 10 million of the X, Y, Z company     19   private obligations for Whitman Funds, while at
20      loan. Where you would sell it?"                   20   MJ Whitman Third Avenue Funds.
21              I might say 99, meaning one, you          21           Did that encompass -- does
22      know, penny below par. Maybe we bought it at      22   distressed private obligations include
23      98 as part of the original syndicate.             23   bankruptcy trade claims?
24              And just to make this simple, say         24       A. Yes.
25      they buy it at 99, I would send them a            25       Q. Do you remember -- do you remember

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 1                   P. Lupoff                             1                  P. Lupoff
 2      any bankruptcy trade claims that were executed     2   trade claims or bankruptcy claims until I was
 3      while at MJ Whitman?                               3   at Whitman. It was just sort of a perfect
 4         A. Yes.                                         4   storm that occurred when I was there.
 5         Q. Can you identify them for me.                5             And the first sort of wave were
 6         A. The company -- the bankrupt entities         6   highly leveraged retail companies. So discount
 7      by name?                                           7   companies like Ames Department Stores, Caldors
 8         Q. You could tell me the cases.                 8   -- I'll try to even do this in alphabetical
 9         A. Sure. And this is -- it'd be a               9   order, if I could think about it.
10      pretty long list. And if you want me to draw      10             Ames, Bradlees, Caldors, Barneys.
11      in memory, I could go a long time and name        11   Stop & Shop, Grand Union, Elder-Beerman.
12      names.                                            12   Kmart. Phar-Mor. It's a P-H. Phar-mor.
13         Q. I'd like you to tell me the names of        13             C. Eaton & Company. E-A-T-O-N.
14      the cases.                                        14   That was up in Canada.
15         A. Well, I'm not going to recall               15             MR. PIERCE: Spell it again.
16      without referring to some notes that I have on    16             THE WITNESS: C. Eaton.
17      this. I'm not going to know off the top of my     17       A. It's a big department store chain in
18      head. But I'll do the best I can.                 18   Canada.
19         Q. Okay.                                       19             Herman's Sporting Goods Store.
20         A. That okay?                                  20             I'm drawing a blank. I mean, I
21              So the junk bond debacle of the late      21   could, if you would like, over the course of
22      80s created this moment where, in 1990, there     22   our time today, as names pop in my head -- that
23      was a colossal explosion of bankruptcies.         23   sort of the way my memory works.
24      There really weren't before that. There was no    24       Q. Sure.
25      trading of trade claims or limited trading or     25             Your resume also indicates that


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 1                  P. Lupoff                            1                P. Lupoff
 2      while at MJ Whitman Third Avenue, you ran a      2   what they did?
 3      department of approximately 8 to 10              3       Q. For example, person A sourced
 4      professionals.                                   4   bankruptcy claims.
 5             Can you tell me -- can you identify       5       A. Sure.
 6      those professionals and tell me what their       6          Everyone I'm going to tell you
 7      roles were in connection with the bankruptcy     7   about, with one or two exceptions, sourced
 8      trade claim business?                            8   bankruptcy claims.
 9         A. Sure. Do you want just the people          9          I did as well.
10      that were related to the trade claim            10          And then I would take the bigger
11      business --                                     11   claims. Oftentimes, those would be the calls I
12         Q. Yes.                                      12   would make, or the ones where my younger people
13         A. -- or all of the people?                  13   or more junior people were having trouble.
14         Q. Just the people related to the trade      14          So Kevin Wyman is one.
15      claim business.                                 15          Jed Kelly.
16         A. Okay. Kevin Wyman, W-Y-M-A-N.             16          Gary Cohen.
17         Q. Can you tell me a little bit about        17          Greg Bany. That's B-A-N-Y.
18      what they did in connection with the trade      18          Jeremy Motz, M-O-T-Z.
19      claim basis?                                    19          Sonya Danne. That's S-O-N-Y-A. Her
20             MR. PIERCE: Object to form.              20   last name, married name now, D-A-N-N-E. She
21         A. So each person by name --                 21   was more administrative on the desk.
22             MR. PIERCE: Got to pause.                22          I forgot one that was a sourcer
23             Object to form.                          23   also, Allison Cutler. She called trade
24             You can answer.                          24   creditors directly.
25         A. Each person and then specifically         25          Joseph Nadkharni, N-A-D-K-H-A-R-N-I.

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 1                   P. Lupoff                           1                 P. Lupoff
 2      He acted more in a paralegal-like capacity,      2   the first cut of a purchase and sale agreement,
 3      processing the paperwork.                        3   or a written confirm, if a written confirmation
 4              There was at the very end of my time     4   was done before a purchase and sale agreement.
 5      there, there was a person named Mary, and I      5           They would not have written those
 6      can't remember Mary's last name. I apologize.    6   documents because they would have been somewhat
 7          Q. Can you tell me which of those            7   standardized and then customized to the
 8      persons were involved in negotiating directly    8   particulars of whatever trade they were working
 9      with creditors in bankruptcy cases?              9   on closing.
10          A. When you say "negotiate," do you         10           To the extent that they were minor
11      mean paperwork, or do you mean the getting to   11   issues, which they mostly always were, in terms
12      an oral agreement, an initial agreement on a    12   of negotiating a document, rather than
13      trade?                                          13   five-day, business day notice to cure an issue,
14          Q. Why don't you tell me both.              14   the other side wants ten. We did such a high
15          A. Okay. Every one of those that was a      15   volume of business that the nuance around that
16      sourcer, as I described, would have been        16   was fairly well understood at one point, what's
17      engaged to a degree in getting to "yes." Even   17   reasonable. So I gave as much latitude as
18      if ultimately I had to approve it, a price,     18   possible around the simplest of the ministerial
19      they were transmitting that information.        19   aspects of the documentation.
20      "We'll pay you $0.30 for your Barneys -- your   20           To the extent things became more
21      $1 million Barneys claim."                      21   material, we had in-house counsel at Whitman.
22              When we got to "yes" on that, and we    22   As mentioned, Joseph Nadkharni as a paralegal.
23      followed up with documentation, to the extent   23   And then there was me. And we oftentimes would
24      we drove that, which isn't always the case,     24   mull over what to do in order to give a trade
25      those sourcers would have distributed to them   25   creditor a document that worked for them and


                                                                            8 (Pages 26 to 29)
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 1                   P. Lupoff                             1                P. Lupoff
 2      worked for us. So oftentimes, the issues that      2       Q. I'm going to ask the question again.
 3      could arise were easily sorted out and             3          When a creditor had an issue with
 4      satisfied by thinking it through and discussing    4   proposed trade documentation, were you involved
 5      it.                                                5   in the negotiation of that documentation with
 6          Q. So you were involved in the                 6   the creditor directly?
 7      negotiation of trade documentation with            7       A. Oftentimes.
 8      creditors; is that correct?                        8       Q. Do you remember any specific
 9          A. We're about talking about me now?           9   bankruptcy trade claims that you were involved
10      Not just --                                       10   in?
11              MR. PIERCE: Object to form.               11          MR. PIERCE: Object to form.
12      BY MR. CHUBAK:                                    12       A. Are you asking for anecdotes?
13          Q. You can answer.                            13       Q. I'm asking for specific creditors
14              MR. CHUBAK: Can you read the              14   that you dealt with.
15          question back, please.                        15       A. Yes.
16              (Question was read back as follows:       16       Q. Can you tell me their names.
17              "QUESTION: So you were involved in        17       A. Heller Financial. The easiest ones
18          the negotiation of trade documentation        18   to mention would be the repeat ones, and the
19          with creditors; is that correct?")            19   repeat ones were the big ones. The big ones
20              MR. PIERCE: Object to form.               20   were oftentimes factors who were factoring
21              Do you mean only trade                    21   receivables prepetition.
22          documentation?                                22          And those kinds of counterparties, I
23              MR. CHUBAK: No, trade documents.          23   almost most dealt with exclusively, because the
24              MR. PIERCE: Object to form.               24   scale of the transactions were significant.
25      BY MR. CHUBAK:                                    25       Q. Do you remember dealing creditors

                                             Page 32                                                Page 33
 1                   P. Lupoff                             1                P. Lupoff
 2     that were factors?                                  2   particularly, if it's much bigger, I might do
 3         A. Yes.                                         3   it entirely myself.
 4         Q. What categories of creditors did you         4       Q. Do you recall the dollar amount of
 5     deal with directly?                                 5   trade claim -- of bankruptcy claims that your
 6             MR. PIERCE: Object to the form.             6   desk purchased during the years you were at MJ
 7             You can answer.                             7   Whitman?
 8         A. I'm not sure I understand                    8       A. I can speculate on it. I can't tell
 9     "category." You mean, manufacturer? Service         9   you an absolute number, no.
10     provider?                                          10           It would have been the vast majority
11         Q. Sure.                                       11   of what I have done in my career, in terms of
12         A. Yeah. The full gamut of it. The             12   number of claims. Not necessarily the dollar,
13     way we operated as desk, we had 8 to 10 people.    13   notional dollar amount.
14     I have this visual right now of this desk and      14       Q. While at MJ Whitman Third Avenue
15     sitting in the desk in the center, as I did        15   Funds, did you trade syndicated loans?
16     with people all making the calls that we did,      16       A. Yes.
17     with the ability to pick up on each other's        17       Q. Did your desk -- did other persons
18     lines.                                             18   at your desk also trade syndicated loans?
19             Over the course of a day, there            19       A. Similarly, there would have been
20     could a seamless number of calls where Jed or      20   sourcers for loans. A different exercise.
21     Kevin or Mary, or whoever it was would have        21   They would have covered banks as a constituent
22     something that might require me to come in and     22   group, not as suppliers.
23     help explain. And I would pick up and do that.     23       Q. While at Lehman Brothers from 1997
24             In some instances, I would drive it.       24   to '98, did you work as a trader-manager --
25     In other instances, I would just --                25   withdrawn.


                                                                              9 (Pages 30 to 33)
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 1                  P. Lupoff                              1                P. Lupoff
 2             In your role as senior vice                 2   trade claims you were involved while at Lehman?
 3     president at Lehman Brothers, were you involved     3           MR. PIERCE: Object to form.
 4     in bankruptcy trade claims?                         4       A. Surely, less than Whitman and more
 5        A. Yes.                                          5   than successive --
 6        Q. Can you tell me about any specific            6       Q. Was it more than ten?
 7     trades that you were involved in during your        7       A. And -- do you mind if I ask for some
 8     one year there.                                     8   clarifications.
 9        A. I remember trading Caldors. I                 9       Q. Of course.
10     remember trading Levitz.                           10       A. Would you distinguish between a
11             MR. PIERCE: Say that again.                11   trade claim and writing a vendor an option to
12             THE WITNESS: Levitz. Furniture             12   put a claim to us?
13        company.                                        13       Q. Would you consider those --
14        A. We wrote a number of                         14   withdrawn.
15     bankruptcy-triggered puts for vendors, which       15           Was a bankruptcy put, as you put it,
16     meant that we gave them -- they're like an         16   did that involve a Rule 3001 transfer?
17     option that gave a vendor the right, but not       17       A. If they exercised it, it meant
18     the obligation, to put claims to us to the         18   claims were created and they were putting
19     extent a company filed that they were doing        19   claims to us. In that instance, the claims put
20     business with.                                     20   to us would have been transferred, yes.
21             The notional amount of that was way        21       Q. In connection with the documentation
22     larger than actual trades in claims. I believe     22   of a bankruptcy put, was a Rule 3001 transfer
23     we did Barneys. Offhand, that's the best I         23   of claim an evidence of transfer signed and
24     recall.                                            24   filed with bankruptcy court?
25        Q. Do you recall how many bankruptcy            25           MR. PIERCE: Object to form.

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 1                   P. Lupoff                             1                P. Lupoff
 2              You can answer.                            2           You can answer.
 3          A. Not with regard to the option               3       A. As best as I can recall, and as I
 4      created. Only its execution. Right? Because        4   think through the volume of puts that we did
 5      I'd be giving a supplier to Levitz the right       5   and how those eventuated in filings, I would
 6      but not the obligation to, say, put $20 million    6   assume in excess of ten claims, yes.
 7      of claims to us.                                   7       Q. Do you recall the entity that filed
 8              If Levitz didn't file bankruptcy,          8   the claim transfer notice in connection with
 9      that put expires. It's worthless. They did         9   those trades?
10      file bankruptcy. And in some instances, claims    10           MR. PIERCE: Object to form.
11      were put to us. When claims were put to us, it    11           You can answer.
12      required a purchase and sale agreement, and the   12       A. Similar to Millennium, a legal
13      3001(e) filing.                                   13   department would have done that. I couldn't
14          Q. Sir, I'm asking about plain vanilla        14   tell you what the actual entity on the document
15      agreements that resulted in the transfer of a     15   would have been.
16      claim for a specific dollar amount, not puts.     16       Q. What was your role in connection
17          A. Okay.                                      17   with those trades?
18          Q. Can you tell me if you executed --         18           MR. PIERCE: Object to form. Lacks
19      if you were involved in more than ten of those    19       foundation.
20      bankruptcy claim trades.                          20           Go ahead.
21          A. As best --                                 21       A. As trader in the prop unit at Lehman
22              MR. PIERCE: Object to form. Just          22   for all things private, particularly with a
23          pause.                                        23   focus on distressed -- I say that because there
24              THE WITNESS: Sorry about that.            24   was a par loan trader that did just performing
25              MR. PIERCE: Object to form.               25   loans, commercial syndicated loans.


                                                                            10 (Pages 34 to 37)
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 1                   P. Lupoff                            1                 P. Lupoff
 2              All things private and distressed         2   then writing option structures prepetition.
 3      was my purview. I made markets in them,           3           I ran those businesses more narrowly
 4      meaning I set prices where we were buyer,         4   as a trader of those. If anybody in the room
 5      prices where we were seller. I did that for       5   at Lehman Brothers in the trading room had a
 6      proprietary money, as well as for creating        6   client, whether it's an institutional buy side
 7      markets for client flow through the sell side     7   firm that focussed on distressed, or trade
 8      operation of Lehman to facilitate customer        8   creditors that they might have called because
 9      orders.                                           9   we had a sourcing operation there, too, sort of
10              We thought of trade creditors as no      10   less extensive than at Whitman, I would have
11      less than clients than we thought of             11   set prices. I would have either communicated
12      institutional buyers. We would have never        12   directly with a client. Or like at Whitman, I
13      really made that distinction. So we would have   13   would have communicated through the party that
14      managed those relationships as well.             14   deals with the client.
15              Would have spearheaded the decision      15           And then executing and committing
16      to do the research work on valuing all things    16   risk capital based on an initial commitment,
17      distressed. And in valuing all things            17   that would have been my obligation solely.
18      distressed, you value entire capital structure   18       Q. Whether at Lehman or MJ Whitman,
19      of a company that is stressed and near           19   were you ever involved in trades that -- where
20      bankruptcy, or is in bankruptcy. We'd be         20   the creditor refused to sign trade
21      valuing -- the analyst may value bonds. I        21   documentation after agreement on price was
22      didn't trade the bonds. I just traded in         22   reached?
23      evaluation of, let's say, Levitz, if they were   23       A. Yes.
24      bonds, I didn't trade them. I just would have    24       Q. Can you identify those potential
25      been trading bank loans and trade claims and     25   trades.

                                            Page 40                                                Page 41
 1                  P. Lupoff                             1                P. Lupoff
 2            MR. PIERCE: Can you read the                2   we bought a claim against a small -- from a
 3        question back, please.                          3   small vendor in California, that they
 4            (Question was read back as follows:         4   themselves were small. The claim was small.
 5            "QUESTION: Can you identify those           5   $20- -- 30,000 face amount.
 6        potential trades.")                             6           And there was a change in the case
 7            MR. PIERCE: Can you read the                7   where claims market prices moved 10 or
 8        previous question.                              8   20 points higher. And had a conversation where
 9            Question was read back as follows:          9   they said, "You won't sue us because we're
10            "QUESTION: Whether at Lehman or MJ         10   judgment-proof and it's too small a claim."
11        Whitman, were you ever involved in trades      11           That happened once or twice, where
12        that -- where the creditor refused to sign     12   in some instances, we would make the commercial
13        trade documentation after agreement on         13   decision to pay a higher price, if that was
14        price was reached?")                           14   what was necessary, even though it was bad
15            MR. PIERCE: Object to form.                15   behavior. It was bad faith. And -- but there
16            You can answer.                            16   were at least two or three, I think, over that
17        A. I remember -- I have a visceral             17   period of time that you mentioned, Lehman
18     reaction and memory of those moments because      18   Brothers and MJ Whitman, where people refused
19     they're infrequent, and they're painful. And      19   to sign documents and walked.
20     in my experiences, in my personal experiences,    20           MR. PIERCE: Jeff, the next 10,
21     were entirely about a change in market price      21       minutes or 5 minutes, I'm going to need to
22     that went against the other side, that went       22       take a break.
23     against the seller.                               23           MR. CHUBAK: That's fine.
24            I believe I recall one. I don't            24           MR. PIERCE: Want to do it now?
25     remember which discount retailer it was. But      25           MR. CHUBAK: We could break now, if


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 1                   P. Lupoff                            1                P. Lupoff
 2         you'd like.                                    2   entered into following an agreement on price.
 3             MR. PIERCE: Great.                         3          Do you recall that?
 4             (Recess is taken.)                         4      A. Yes.
 5     BY MR. CHUBAK:                                     5      Q. Do you recall your answer to the
 6         Q. So prior to our break I had asked           6   question?
 7     you a question about bankruptcy trade claims       7      A. Yes.
 8     that failed to close because the creditor          8      Q. So while at Lehman or MJ Whitman,
 9     declined to enter into trade documentation.        9   how many -- how many trades do you recall where
10             Do you recall that?                       10   -- where you were unable to enter into trade
11         A. Yeah, I recall your question. Yes.         11   documentation following agreement on price?
12         Q. And you had mentioned that you             12          MR. PIERCE: Object to form.
13     recall two or three trade claims that failed to   13          You can answer.
14     close -- withdrawn.                               14      A. Two to three, but only because the
15             And do you recall having mentioned        15   other side refused to do documentation.
16     that while at Lehman Brothers or MJ Whitman,      16      Q. Did you consult with internal
17     you recall two or three trade claim where --      17   counsel about those trades?
18     that they were never documented following         18          MR. PIERCE: I'm going to object to
19     agreement on price?                               19      form, and also instruct the witness not to
20             MR. PIERCE: Object to form.               20      answer that. That's privileged.
21         A. Is that the same question? I don't         21          MR. CHUBAK: I'm not asking about
22     follow.                                           22      privileged communications.
23         Q. I'm asking you if you -- withdrawn.        23          MR. PIERCE: You just asked him
24             I had asked you about bankruptcy          24      whether he talked to a lawyer about whether
25     trade claims where written documentation wasn't   25      or not --

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 1                  P. Lupoff                             1                P. Lupoff
 2            MR. CHUBAK: It's a "yes" or "no"            2   result in lawsuits?
 3        question. I'm not asking about privileged       3      A. I don't recall. Certainly not to
 4        communications.                                 4   the extent where I was engaged in something
 5            MR. PIERCE: You're asking whether           5   ongoing.
 6        he talked to a lawyer about specific            6      Q. Do you remember the names of the
 7        subject matter. That means you're getting       7   trade creditors in connection with those
 8        into the content of communications. If you      8   trades?
 9        want to ask whether he ever spoke to any        9      A. I do not.
10        lawyers at any of these places, you can do     10      Q. Why did you leave Lehman in
11        that.                                          11   May 1998?
12            I think you asked about the subject        12      A. I had done a lot, I felt. I was
13        of the conversation. You traipsed through      13   grateful for my time in investment business and
14        the line of privilege, and I have to           14   wanted to try some new things.
15        instruct him not to answer.                    15           I had gown a little weary of large
16            MR. CHUBAK: I respectfully                 16   institutions after being so integral to the way
17        disagree.                                      17   things worked at Whitman and Third Avenue.
18            MR. PIERCE: That's fine.                   18   Lehman was an awesome institution with very
19            MR. CHUBAK: I'm not asking about a         19   good people, but it left me at a place where I
20        privileged communication.                      20   wanted to try new things, and I tried new
21            MR. PIERCE: You can't answer the           21   things.
22        question.                                      22      Q. What is Tiburon Holdings LLC?
23            You can ask your next question.            23      A. You're talking about the time period
24      BY MR. CHUBAK:                                   24   post Lehman?
25        Q. Did any of those failed trades              25      Q. Yes.


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 1                  P. Lupoff                             1               P. Lupoff
 2        A. It was an LLC that I had formed for          2      A. We kept it. We contemplated it, but
 3     the purposes of doing a variety of different       3   we kept the claim.
 4     activities post my investment management           4      Q. Did Tiburon Holdings trade
 5     career, and was the entity that I operated         5   syndicated loans?
 6     through as a limited liability company.            6      A. No.
 7        Q. Were you the sole member of the LLC?         7      Q. What is Schultze Asset Management
 8        A. Yes.                                         8   LLC?
 9        Q. Did you have outside investors?              9      A. Schultze Asset Management is a
10        A. No.                                         10   distressed manager in Purchase, New York.
11        Q. Did Tiburon Holdings LLC trade              11      Q. Can you tell me who the members are
12     bankruptcy claims?                                12   of Schultze Asset Management?
13        A. No. We owned one claim, but we              13      A. I believe to this day --
14     didn't trade claims.                              14          MR. PIERCE: Object to form.
15        Q. How did Tiburon Holdings LLC come to        15          You can answer.
16     acquire that claim?                               16      A. I believe that George Schultze is
17             MR. PIERCE: Object to form.               17   the sole manager -- sole member.
18        A. We were a vendor to a bankrupt              18      Q. Did Schultze Asset Management trade
19     debtor.                                           19   bankruptcy claims?
20        Q. Oh, okay.                                   20      A. Yes.
21             What was the debtor?                      21      Q. Can you tell me how big --
22        A. A company called hookt.com.                 22   withdrawn.
23     H-O-O-K-T.com                                     23          Did Schultze Asset Management have a
24        Q. Did Tiburon Holdings LLC sell that          24   bankruptcy trade claim desk?
25     claim?                                            25      A. No.

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 1                 P. Lupoff                              1                P. Lupoff
 2        Q. Who at Schultze Asset Management was         2      Q. Which brokers did you work with?
 3     responsible for trading bankruptcy claims?         3      A. I won't recall offhand.
 4        A. Me.                                          4      Q. Can you tell me the approximate
 5        Q. Do you recall how many bankruptcy            5   dollar amount of the under five bankruptcy
 6     trade claims you entered into at Schultze Asset    6   trade claims that were purchased at Schultze.
 7     Management?                                        7      A. I can't say I recall.
 8        A. Under five.                                  8      Q. Do you recall the name that the
 9        Q. Do you remember what cases offhand?          9   entity identified as the purchaser on the
10        A. Offhand, I just call a company              10   Rule 3001 transfer?
11     called Footstar.                                  11      A. I can't say I recall that either.
12            MR. PIERCE: Spell that.                    12      Q. What is EagleRock Capital
13        A. F-O-O-T-S-T-A-R.                            13   Management?
14        Q. Were you responsible for sourcing           14      A. Event-driven hedge fund here in New
15     bankruptcy claims?                                15   York at the time.
16        A. I don't -- I can't answer that              16      Q. Why did you leave Schultze to go to
17     question in a simple way.                         17   EagleRock?
18        Q. Can you answer it in a nonsimple            18           THE WITNESS: Is it appropriate to
19     way?                                              19      ask for a moment with you to talk about
20        A. Schultze was a distressed manager.          20      this?
21     With a focus on distress, we would have engaged   21           MR. PIERCE: Nope. You've got to
22     broker-dealers, and we would have acquired        22      answer his question.
23     claims most likely through broker-dealers. And    23           MR. CHUBAK: No.
24     I would been the point person for working with    24      A. I believe that I saw some things
25     the broker-dealers on claims.                     25   that, morally, I couldn't accept at that firm,


                                                                           13 (Pages 46 to 49)
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 1                    P. Lupoff                           1                P. Lupoff
 2      and left. And as did our senior analyst.          2   claims.
 3          Q. Did those morally questionable             3       Q. How did you source bankruptcy
 4      things have anything to do with the bankruptcy    4   claims?
 5      claim trade --                                    5       A. Similarly, as would be the case with
 6          A. No.                                        6   all of the hedge funds that I worked at,
 7          Q. -- business segments?                      7   largely through intermediaries.
 8              What was your role at EagleRock?          8       Q. When you say all of the hedge funds
 9          A. I was a co-portfolio manager.              9   that you worked at, does that include Lehman
10      Focussed largely on distressed and all things    10   Brothers?
11      private.                                         11       A. No, Lehman Brothers is an investment
12          Q. In your role as portfolio manager,        12   bank for prop desk. Although, there, too, we
13      did you trade bankruptcy claims?                 13   probably sourced most of our claims through
14          A. I did.                                    14   brokers.
15          Q. Can you tell me how big the               15       Q. At MJ Whitman, did you also source
16      bankruptcy trade -- withdrawn.                   16   most of your claims through brokers?
17              Do you have a bankruptcy trade claim     17       A. We had a sourcing team, as I laid
18      desk at EagleRock?                               18   out for you. Although, we did buy from brokers
19          A. No.                                       19   from time to time.
20          Q. Can you tell me who at EagleRock was      20       Q. While at EagleRock, did you ever --
21      responsible for trading bankruptcy claims.       21   did EagleRock -- withdrawn.
22          A. That would be me.                         22           Do you recall the name of the entity
23          Q. Was it just you?                          23   listed as the transfer on the Rule 3001
24          A. We had a paralegal that helped            24   transfer for bankruptcy claims purchased?
25      settle all things private, including trade       25       A. I couldn't tell you, no.

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 1                  P. Lupoff                             1                 P. Lupoff
 2        Q. In your role as portfolio manager at         2   that were pooled together to create one
 3     EagleRock, how many bankruptcy trades were you     3   structured product, if you will.
 4     involved in?                                       4            So a hundred million dollars of
 5        A. In number of transactions, probably          5   Parmalat claims sold by Goldman Sachs,
 6     5 to 10. However, in one or two transactions,      6   EagleRock might have taken 25 million of that,
 7     those transactions may have been pooled claims,    7   but the Parmalat claims that made up that
 8     where the actual number of claims were             8   hundred million dollar pool might have been
 9     significant.                                       9   thousands of claims.
10            MR. CHUBAK: Can you read that back.        10      Q. While at EagleRock, do you recall
11            (Answer was read back as follows:          11   ever having purchased -- been involved in
12            "ANSWER: In number of transactions,        12   purchase of a nonbroker claim?
13        probably 5 to 10. However, in one or two       13      A. Yes.
14        transactions, those transactions may have      14      Q. Can you identify that claim or
15        been pooled claims, where the actual           15   claims.
16        number of claims were significant.")           16      A. Yes. I believe it was Footstar.
17     BY MR. CHUBAK:                                    17      Q. Do you recall the name of the
18        Q. What is a pooled claim?                     18   creditor whose claim you purchased?
19        A. When we were talking about Lehman,          19      A. I do not.
20     for example, and I described how Deutsche Bank    20      Q. Do you recall the dollar amount?
21     might have sold a hundred million dollars'        21      A. I don't.
22     worth of Lehman claims in a participation.        22      Q. Do you recall the name of the entity
23            I believe at EagleRock we bought at        23   that's listed as the transferee on the
24     least one claim from Goldman Sachs, where we      24   Rule 3001 transfer?
25     participated in a much larger number of claims    25      A. No.


                                                                           14 (Pages 50 to 53)
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 1                  P. Lupoff                             1                P. Lupoff
 2         Q. How many claims were you involved --        2      A. An opportunity to start and run my
 3      withdrawn.                                        3   own fund for the first time with a partner who
 4             How many bankruptcy claims were you        4   was a good friend of mine.
 5      involved in the purchase of in Footstar?          5      Q. Who is that partner?
 6         A. I can't say I recall.                       6      A. Mark May, M-A-Y.
 7         Q. Was it more than one?                       7      Q. In your role as co-portfolio manager
 8         A. Yes.                                        8   at Azura, did you trade bankruptcy claims?
 9         Q. How many nonbrokered bankruptcy             9      A. I would have, but Azura raised the
10      claim transactions were you involved in at       10   money and then returned the money. We never
11      EagleRock?                                       11   operated -- we never took in outside capital
12         A. I can't say I recall.                      12   and deployed that capital.
13         Q. Was it more than ten?                      13      Q. Why was the capital not deployed?
14         A. We didn't do more than ten in total.       14      A. My partner chose to return back to
15         Q. Okay. So --                                15   his much larger firm and we wound down the
16         A. So some subset of that.                    16   launch.
17         Q. And did you do more than five?             17      Q. Was is Robeco U.S.A.?
18         A. I'm sure not.                              18      A. Robeco is a Dutch parent. 3 -- at
19         Q. And one of those five was a -- was a       19   the time, a $380 billion asset manager in
20      participation transaction that you referred to   20   Europe.
21      earlier?                                         21      Q. In your role as portfolio manager at
22         A. One of the 5 to 10 was in a Parmalat       22   Robeco, were you involved in the acquisition of
23      trade with Goldman, yes.                         23   bankruptcy claims?
24         Q. Why did you leave EagleRock to go to       24      A. Yes.
25      Azura Capital Partners?                          25      Q. Can you tell me if you bought broker

                                            Page 56                                                Page 57
 1                 P. Lupoff                              1                P. Lupoff
 2     claims?                                            2       Q. What was the extent of your
 3        A. Yes.                                         3   involvement?
 4        Q. Did you buy nonbroker claims as              4       A. Similarly, I would have been the
 5     well?                                              5   point person for pricing risk, for valuing
 6        A. I can't say I recall.                        6   claims as part of the larger capitalization of
 7        Q. Which brokers did you utilize?               7   a bankrupt company. For buying those claims,
 8        A. I won't know off the top of my head,         8   for then executing in markets, committing
 9     specifically. I will say over the entirety of      9   capital, but then ultimately turning the
10     my career working at hedge funds, where we        10   paperwork to in-house counsel to document.
11     bought through brokers, there were just a         11       Q. Do you recall the name of the
12     handful that were regular and that anyone would   12   purchasing entity listed on the Rule 3001
13     have used, and would have been the people that    13   transfer?
14     we dealt with day in/day out, speaking about      14       A. I know specifically at Robeco there
15     markets and pricing and ultimately, executing     15   was an SIV, and I couldn't tell you the name of
16     where we bought claims.                           16   it.
17            But I'm never -- unless there's a          17       Q. Did you trade syndicated loans while
18     unique circumstance where I remember it, it's     18   at Robeco?
19     going to be hard for me to recall the specific    19       A. Yes.
20     broker-dealer.                                    20       Q. Why did you leave Robeco for
21        Q. How many bankruptcy claims were you         21   Millennium?
22     involved in the purchase of while at Robeco,      22       A. Robeco wanted to wind down its U.S.
23     brokered or nonbrokered?                          23   asset management business. And while we could
24        A. Five or less would be my guess, as          24   have stayed and gone through some sunset period
25     best as I can recall.                             25   with them, Millennium had made overtures and


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 1                  P. Lupoff                              1                P. Lupoff
 2     made a very attractive offer to take our team       2      A. Just the one to two -- one, two, or
 3     over to Millennium.                                 3   three that we discussed.
 4        Q. How big was your team?                        4      Q. Were you involved in any bankruptcy
 5        A. Three.                                        5   trades that failed to close while at
 6        Q. Was anyone on your team involved in           6   Millennium?
 7     the five or less bankruptcy trade claims that       7      A. Yes.
 8     you entered into, that you were involved in at      8      Q. Can you describe those.
 9     Robeco?                                             9          MR. PIERCE: Object to form.
10        A. Can you repeat that, please.                 10      A. There was one. It was the Death Row
11            (Question was read back as follows:         11   Records claim. The vendor, upon due diligence
12            "QUESTION: Was anyone on your team          12   after we agreed on price and amount, appeared
13        involved in the five or less bankruptcy         13   to have sold the claim to somebody else at the
14        trade claims that you entered into, that        14   same time.
15        you were involved in at Robeco?")               15      Q. Did that failed trade result in a
16        A. Do you mean in terms of pricing or           16   lawsuit?
17     execution? No.                                     17      A. No.
18        Q. How many bankruptcy trade claims for         18      Q. Do you remember the size of the
19     you involved in at Millennium?                     19   claim?
20            MR. PIERCE: Objection. Asked and            20      A. In excess of 25, maybe in excess of
21        answered.                                       21   50 million.
22            You can answer.                             22      Q. Do you remember the name of the
23        A. By "involved," you mean actually             23   creditor?
24     closed?                                            24      A. It was a rapper.
25        Q. Sure.                                        25      Q. Do you recall which rapper?

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 1                    P. Lupoff                            1                 P. Lupoff
 2         A. I think I do. I think it was --              2   managed in or about June 2009 to
 3      unless it's the one we bought. I think this is     3   September 2012, say, before you joined Gray &
 4      the one that failed.                               4   Company?
 5              I think his name is Daz, D-A-Z.            5       A. I think we were $65 million in
 6      Dillinger, D-I-L-L -- like the gun, however        6   assets under management when we sold the
 7      that's spelled.                                    7   business to Gray & Company.
 8         Q. Why did you leave Millennium?                8            MR. PIERCE: Is that million or
 9         A. Enormous opportunity in bank debt            9       billion?
10      coming out of the financial crisis. And           10            THE WITNESS: Million.
11      Millennium had no interest in doing less liquid   11   BY MR. CHUBAK:
12      obligations after the financial crisis.           12       Q. About how much of your portfolio was
13         Q. Is Tiburon Capital Management LLC           13   allocated to bankruptcy trade claims?
14      separate from Tiburon Holdings?                   14       A. At Tiburon in that time?
15         A. Yes.                                        15       Q. Correct.
16         Q. Are you the sole member of Tiburon          16       A. I'm fairly certain it was zero.
17      Capital Management?                               17       Q. What about after Tiburon was sold to
18         A. I wound down to run Capital                 18   Gray & Company?
19      Management, unless you want to talk about a       19       A. The assets that we managed expanded
20      time period.                                      20   significantly. We still didn't do trade
21         Q. Yeah.                                       21   claims, to the best of my recollection.
22              I'm asking, when did you wind down        22            If we had a claim, it was an
23      Tiburon Capital Management?                       23   oversight. It wouldn't be significant.
24         A. In June of 2017, I think.                   24       Q. What is Lupoff Friends and Family
25         Q. What was the dollar amount that you         25   Interests LLC?


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 1                  P. Lupoff                              1                P. Lupoff
 2         A. It's my family office for investing          2      matter. I just want to let you know that's
 3      personal capital.                                  3      coming.
 4         Q. Do you have outside investors?               4          MR. CHUBAK: Okay. That's fine.
 5         A. I do not. Not other than family              5      How long a call do you think? I don't
 6      members.                                           6      think we need a need a lunch break,
 7         Q. Does Lupoff Friends and Family               7      frankly.
 8      Interests buy bankruptcy claims?                   8          MR. PIERCE: I thought that there
 9         A. We do not buy claims directly.               9      was, when I scheduled for that. So I
10         Q. How do you buy bankruptcy claims?           10      apologize for that.
11             MR. PIERCE: Object to form.                11          (Discussion held off the record.)
12         Mischaracterizes his testimony. Lack of        12   BY MR. CHUBAK:
13         foundation.                                    13      Q. I'm going to refer you to page 1 of
14             Go ahead.                                  14   your report.
15         A. We can allocate capital third-party         15      A. Okay.
16      managers. And the among the third-party           16      Q. Where you wrote that you base your
17      managers we're allocating capital to is a hedge   17   opinion on your long history in the claims
18      fund that invests in trade claims.                18   trading field and multiple billions of dollars
19         Q. What is the name of that hedge fund?        19   of consummated trades that you participated in
20         A. Hain, H-A-I-N, Capital.                     20   over the past 25 years.
21             And we've made a commitment. We            21      A. Yes.
22      have not allocated, but we made a commitment.     22      Q. Is your experience principally based
23             MR. PIERCE: Jeff, I just want to           23   on your time at MJ Whitman and Lehman?
24         give you some forewarning. At 12 o'clock,      24          MR. PIERCE: Object to form.
25         I need to do a brief call in another           25      A. No.

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 1                   P. Lupoff                             1                 P. Lupoff
 2          Q. What is it based on?                        2   of those firms, whether we bought one claim in
 3          A. I have a career that's over 25 years        3   that year or we were highly active in the prior
 4      of engaging in private obligations.                4   years, it's in the capitalization of companies
 5      Specifically, covering all creditors and           5   we value. Would not choose trade claims just
 6      interest, whether they're trade creditors,         6   because we want to own trade claims. Because
 7      factors, or institutional buy side clients.        7   my allocation, my strategy was never that
 8              At Whitman, we operated as principal       8   narrow.
 9      buying claims at Whitman, as well, for our         9           So trade claims as a prospect to
10      underlying funds. I ran a fund there that         10   invest in, I would have been in markets daily,
11      invested in claims.                               11   bidding claims, valuing claims, but may have
12              Subsequent to that, I've always had       12   chose other parts of the capitalization to
13      distressed as part of the mandate of every        13   express that risk. And/or I might have bid for
14      asset manager I worked at.                        14   claims and just simply not got the chance to
15          Q. So when you're referring to multiple       15   buy them.
16      billions of dollars of consummated trades --      16           And then finally, with my time at
17              MR. PIERCE: Did you finish your           17   Tiburon and Lupoff Friends and Family, the work
18          answer?                                       18   around the trade claim sector involved to more
19              THE WITNESS: No.                          19   advisory. So when Tiburon was bought by Gray &
20              MR. PIERCE: Let the witness finish        20   Company, I became Gray & Company's chief
21          his answer. Thank you.                        21   investment officer, I provided advisory work to
22          A. So at all of the hedge funds where         22   pension endowment clients. And the pension
23      I've worked, were distressed as part of the       23   endowment clients we advised, many of them had
24      strategy, trade claims is one of the ways that    24   investments with managers that did distress,
25      you can express an investment. And so, at all     25   and I would spend the time to talk about the


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 1                   P. Lupoff                            1                 P. Lupoff
 2     narrow strategies of some of these firms with      2       Q. Earlier today, I asked you questions
 3     regard to trade claims, and would need to          3   about trade creditors that you engaged with
 4     remain steeped in the trade claim markets, how     4   directly, and you couldn't give me the names of
 5     their opportunities there were relative to         5   trade creditors other than a few factors; is
 6     other parts of the capitalization.                 6   that correct?
 7        Q. When you wrote that you have been            7           MR. PIERCE: Object to form.
 8     involved in billions of dollars of consummated     8       A. That's correct.
 9     and some failed to revise trades, are you          9       Q. So when you say you were involved in
10     referring to bankruptcy trade claims and other    10   multiple billions of dollars of consummated
11     distressed opportunities or just bankruptcy       11   bankruptcy trade claims, what was the degree of
12     trade claims?                                     12   your involvement?
13        A. Just trade claims.                          13           MR. PIERCE: Object to form.
14        Q. You testified earlier today that you        14           You can answer the question.
15     didn't recall a number of any -- withdrawn.       15       A. The notional amount of the claims
16             Is it your testimony today that           16   that I recall trading.
17     you've been involved in multiple billions of      17           I don't think you asked for a dollar
18     dollars of consummated bankruptcy trade claims?   18   amount attached to any particular name. You
19        A. Yes.                                        19   just asked names.
20        Q. Earlier today, I asked you about the        20           But when I just think of a handful,
21     names of the purchasing entities on those         21   I get pretty quickly to some numbers that make
22     bankruptcy trade claims, and you couldn't give    22   it easy to believe it is in excess of 2
23     me -- identify the name of the transferee on      23   billion, and probably in excess of 10,000
24     the Rule 3001 transfer; is that correct?          24   claims in number, considering that many of the
25                                                       25   claims were pooled or were buying factored
          A. Correct.

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 1                   P. Lupoff                            1               P. Lupoff
 2      claims from a Heller or from a Sanwa credit.      2     questions --
 3             I don't think those numbers are            3         MR. PIERCE: You can't cut me off.
 4      outside of the scope of people that --            4         MR. CHUBAK: You can object to
 5             MR. PIERCE: There's no pending             5     questions, but speaking objections aren't
 6         question.                                      6     permitted.
 7             THE WITNESS: Okay.                         7         MR. PIERCE: I'm not objecting.
 8             MR. CHUBAK: Please let him answer.         8         MR. CHUBAK: Okay.
 9         Let him finish his question.                   9         MR. PIERCE: I'm saying that what
10             MR. PIERCE: He wasn't asking a            10     you've been -- you've been treating the
11         question. He was answering.                   11     witness in a way which I think falls
12             Counsel, the last couple of               12     outside the bounds of propriety. If you
13         questions you have been -- your facial        13     could be polite and respectful to him, I
14         expression has suggested a certain            14     would appreciate it. And also, if you
15         incredulity, that you don't believe the       15     could start asking some questions about
16         numbers that are written down on the firm.    16     actual facts, rather than reviewing the
17         And I wouldn't say that they were             17     testimony you've already obtained and
18         harassing, but they're definitely -- you're   18     asking him to admit that somehow that just
19         challenging him.                              19     proves what's in his report. It doesn't.
20             Why don't you ask some questions          20     You can keep doing that, if you want to,
21         about some facts, and then he could give      21     but it's not very productive.
22         you those. I'm sure you'll have ample         22         MR. CHUBAK: I'll continue
23         opportunity to argue to the Judge about why   23     questioning my witness. Thank you.
24         this witness's CV is -- I'm not done yet.     24   BY MR. CHUBAK:
25             MR. CHUBAK: You could object to           25     Q. How many nonbrokered bankruptcy


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 1                  P. Lupoff                              1                P. Lupoff
 2      claim trades have you been involved in over the    2   that you purchased?
 3      course of the past 25 years?                       3           MR. PIERCE: Ever?
 4             MR. PIERCE: Object to form.                 4   BY MR. CHUBAK:
 5         A. Vast majority of the time that I was         5      Q. While at MJ Whitman or Lehman?
 6      at Whitman, and then a small portion of the        6           MR. PIERCE: Object to form.
 7      claims subsequently went at either hedge funds     7           You can answer.
 8      or on the prop desk at Lehman.                     8      A. The dollar amount other than if
 9         Q. After you left Lehman, do you recall         9   those two firms, that were non- --
10      having been involved in the purchase of           10      Q. Yeah, other than at those two firms.
11      nonbrokered bankruptcy claims?                    11      A. I don't remember those numbers
12         A. Yes.                                        12   specifically, no.
13         Q. Can you tell me where and under what        13      Q. Do you remember roughly the dollar
14      circumstances.                                    14   amount while at MJ Whitman?
15             MR. PIERCE: Object to form.                15           MR. PIERCE: Object to form. Dollar
16         A. I think I mentioned that we bought a        16      amount of what?
17      Footstar claim from a vendor directly. I think    17           MR. CHUBAK: Of nonbrokered
18      that was at EagleRock.                            18      bankruptcy claim trades with which
19         Q. Do you recall the --                        19      Mr. Lupoff was involved in the purchase of.
20             MR. PIERCE: Are you done with your         20           MR. PIERCE: Thank you for the
21         answer, sir?                                   21      clarification.
22             THE WITNESS: Yes.                          22           Object to form.
23      BY MR. CHUBAK:                                    23           You can answer.
24         Q. Do you recall roughly the dollar            24      A. I can come up 300 million-plus
25      amount of nonbrokered bankruptcy claim trades     25   easily just in a handful of trades without

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 1                  P. Lupoff                              1                P. Lupoff
 2      thinking more than that. But I've not really       2   four?
 3      thought of it in that context before.              3       A. We did in excess of 150 million with
 4         Q. When dealing with bankruptcy claims,         4   Heller in one Kmart transaction alone.
 5      did you distinguish between trade claims --        5           In the Phar-Mor bankruptcy, where
 6      what does the word "trade claim" mean to you?      6   the creditors were drug companies, the claims
 7         A. Trade claim is the obligation of a           7   tended to be between 25 and 75 million. We did
 8      bankrupt debtor to a vendor or service provider    8   four or five of those at least.
 9      for an unpaid bill. It's usually evidenced by      9           As I think it through anecdotally, I
10      an invoice or a bill of lading.                   10   can put those together, as I've done in the
11         Q. Do you recall the approximate dollar        11   past, in preparation for these kinds of
12      amount of trade claims -- trade claim purchases   12   conversations. But without referring to notes,
13      that you were involved in at MJ Whitman,          13   I can't remember off the top of my head more
14      nonbrokered?                                      14   than that for the time being.
15             MR. PIERCE: Object to form. I              15           You know, we got to be -- well, one
16         think also asked and answered.                 16   other thing --
17             But go ahead.                              17           MR. PIERCE: There's no question
18         A. Like I said, I can think of a               18       pending.
19      handful, maybe four or five, a number that get    19           THE WITNESS: I'm sorry. I'm still
20      us in excess of 300 million, much less the        20       answering his particular question.
21      thousands more we did.                            21       A. In the C. Eaton bankruptcy, if you
22             But, no, I can't come up with a            22   were to look at the dollar amount of the
23      number offhand.                                   23   general and secured, we were more than a third
24         Q. Can you identify those three or             24   of the class, whatever that would have been.
25      four? Who -- can you identify those three or      25           And I couldn't tell you what that is


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 1                    P. Lupoff                            1                P. Lupoff
 2      in number. But there would be a couple of          2           And so, my point is that
 3      cases where the totals would have been -- our      3   decision-makers amongst trade creditors are, to
 4      objective was to get to a control part of the      4   a degree, very well informed and understand
 5      general and secured class. So another way to       5   what their oral commitment means, especially
 6      back into it would be to look at the general       6   with dealing a financial party on the other
 7      and secured class in a case and then calculate     7   side.
 8      at least a third, and that would be my estimate    8      Q. Is the bankruptcy trade claim market
 9      on some of them.                                   9   regulated?
10          Q. In the second-to-last paragraph of         10      A. You mean --
11      the first page, you mentioned that FINRA has      11           MR. PIERCE: Object to form.
12      stated that orders for securities transactions    12      A. -- by a regulatory entity?
13      are contracts, and that most security orders      13      Q. Sure.
14      are verbal.                                       14      A. No.
15              Is FINRA involved -- is FINRA             15      Q. Is bankruptcy claim trades
16      responsible for regulating the bankruptcy trade   16   securities -- I'm sorry. Withdrawn.
17      claim business?                                   17           Are bankruptcy claims securities?
18          A. No.                                        18      A. I'm not a lawyer to parse words over
19          Q. What does FINRA have anything to do        19   whether it's a security or not. But to my
20      with bankruptcy trade claims generally?           20   knowledge, it isn't.
21              MR. PIERCE: Object to form.               21           But we in the business, we in the
22          A. I believe that it sets up an               22   industry will think about financial obligations
23      understanding amongst laymen that have any        23   that arise that in often instances would pursue
24      familiarity with shares trading, stock trading,   24   similar claims that are securities as trading
25      of the actionability of oral commitments.         25   like them.

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 1                    P. Lupoff                            1                P. Lupoff
 2         Q. I'm going to refer you to                    2   but it's another hedge fund industry firm that
 3      paragraph 3.                                       3   does conferences and gives out awards. It's
 4         A. Page 1?                                      4   San Francisco-based, I believe.
 5         Q. Of page 2.                                   5      Q. When were you awarded MARHedge's
 6         A. Okay.                                        6   event-driven manager award?
 7         Q. What is GAIM, G-A-I-M?                       7      A. That was at EagleRock.
 8         A. Global Alternative Investment                8      Q. And when were you awarded
 9      Management. It's an, entity, a European            9   institutional investor?
10      entity.                                           10      A. We just nominated -- that was at
11         Q. Which fund was awarded top emerging         11   Robeco.
12      distressed manager?                               12      Q. In paragraph 4, you state that
13         A. Schultze.                                   13   you're a regular featured discussant on
14         Q. Remind me again, did you trade              14   academic papers.
15      bankruptcy claims while at Schultze?              15           When have you been featured as a
16         A. Yes.                                        16   discussant on academic papers regarding market
17         Q. Is this the fund where there were           17   stocks and liquidity?
18      under five bankruptcy trade claims handled by     18      A. With -- just broadly or...
19      you?                                              19      Q. Broadly.
20              MR. PIERCE: Object to form.               20      A. Most recently, as part of a workshop
21              You can answer.                           21   up at Yale School of Management last semester.
22         A. Plus or minus 5. 5 to 10, maybe. I          22   I'm sorry. Talking semester terms, that would
23      don't recall.                                     23   be, like, February or March of last year.
24         Q. What is MARHedge?                           24           December at Yale School of
25         A. I don't recall what MAR stands for,         25   Management. A number of times with the Fed at


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 1                   P. Lupoff                             1                 P. Lupoff
 2      regular, year-end meetings that they did. I        2       A. No, that was surely a time where I
 3      probably haven't done one of their regular         3   was very actively in markets because I ran a
 4      meetings since 2010.                               4   desk that was actively involved in markets.
 5             And then informally with the Fed            5           It was at the outset of that
 6      since then. When I say "informally," not as        6   business becoming more material. But it's hard
 7      part of any organized discussion. More in a        7   to say, because some of the later trades that I
 8      conference room behind closed doors.               8   have been involved in, where they were either
 9          Q. Have you written any white papers on        9   pooled or participations in SIVs, might have
10      bankruptcy-related matters?                       10   been larger in terms of the number of claims.
11          A. The closest one I think may be one I       11   There's a difference between, say, the number
12      did on the shock to oil price back at the 4th     12   of claim and the dollar, notional amount
13      quarter of 2014 and its impact on high-yield      13   traded.
14      issuers and the energy patch prospect for         14           MR. PIERCE: Jeff, I apologize, but
15      bankruptcies, to the best of my recollection.     15       I've got to take a break at this point.
16          Q. I'm going to refer you to                  16           Let us go off the record.
17      paragraph 7, where you state that you             17           (Recess is taken.)
18      participated, in your estimate, well over         18   BY MR. CHUBAK:
19      10,000 trade claims, totalling multiple           19       Q. I'm going to refer you to the
20      billions of dollars in value.                     20   portion of your portfolio that begins with
21             Was that experience principally at         21   paragraph 13.
22      MJ Whitman?                                       22       A. Yes.
23             MR. PIERCE: Object to form.                23       Q. Do you believe that when agreement
24             Asked and answered.                        24   is priced -- withdrawn.
25             You can go ahead.                          25           Is it your testimony that when an

                                             Page 80                                                Page 81
 1                    P. Lupoff                            1               P. Lupoff
 2      agreement on price is reached with a trade         2   Buy side clients. Trade creditors. Vendors.
 3      creditor, that the enforceable bankruptcy trade    3      Q. Can you tell me what other
 4      claim agreement exists?                            4   bankruptcy claim trade purchasers you've
 5              MR. PIERCE: Object to form.                5   discussed that with.
 6              You can answer.                            6          MR. PIERCE: Objection to form.
 7         A. Price and amount. On price and               7      You're asking him to give you individual
 8      amount, the buyer owns the claim risk              8      names?
 9      transfers.                                         9          MR. CHUBAK: Yeah.
10         Q. What is the basis for your belief           10          MR. PIERCE: Okay.
11      that that's the case?                             11      A. I can't with any specificity.
12         A. From my experiences in the trade            12      Q. Do you go to any bankruptcy claim
13      claim business over the last 25 years or so,      13   trade events?
14      the reasonable expectations of the parties and    14          MR. PIERCE: Object to form.
15      the trades, that they are bound by their oral     15      A. I don't think I've ever seen a
16      agreements.                                       16   bankruptcy claim trade event.
17         Q. Have you ever shared your beliefs           17      Q. Are you member of the American
18      with others in the bankruptcy trade claim         18   Bankruptcy Institute?
19      business?                                         19      A. No.
20              MR. PIERCE: Object to form.               20      Q. Are you a member of the Turnaround
21         A. Yes.                                        21   Management Association?
22         Q. Can you tell me who you've discussed        22      A. No.
23      your beliefs with in the bankruptcy trade claim   23      Q. Are you a member of any
24      business.                                         24   bankruptcy-related organizations?
25         A. Lawyers. Other traders of claims.           25      A. No.


                                                                            21 (Pages 78 to 81)
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 1                    P. Lupoff                            1                P. Lupoff
 2         Q. Have you ever been a member of the           2      A. No.
 3      American Bankruptcy Institute, Turnaround          3      Q. What are you referring to?
 4      Management Association, or similar                 4      A. All obligations that can trade the
 5      organization?                                      5   bankrupt debtor, which would include bank
 6         A. Perhaps my institutions have. I              6   loans, trade claims, bonds, equity, anything in
 7      don't recall. But I would say the greatest         7   a bankrupt debtor's capitalization.
 8      volume of conversations in public forums about     8      Q. Are you in touch with people who buy
 9      this topic, if that's what you're driving at,      9   trade claims, bankruptcy claims professionally?
10      are at industry conferences around stressed       10      A. Yes.
11      investing. And that, I have done quite a bit.     11           MR. PIERCE: Object to form.
12              MR. CHUBAK: Can you read that back.       12   BY MR. CHUBAK:
13              (Answer was read back as follows:         13      Q. Can you identify those persons.
14              "ANSWER: Perhaps my institutions          14           MR. PIERCE: Object to form.
15         have. I don't recall. But I would say          15           You can answer.
16         the greatest volume of conversations in        16      A. How broad a list do you want?
17         public forums about this topic, if that's      17      Q. Can you tell me the name of people
18         what you're driving at, are at industry        18   that run funds specifically oriented towards
19         conferences around stressed investing.         19   buying bankruptcy claims, that you interact
20         And that, I have done quite a bit.")           20   with.
21      BY MR. CHUBAK:                                    21           MR. PIERCE: Object to form. You've
22         Q. When you refer to distressed                22      got to pause, let me object.
23      investing, are you referring to syndicated loan   23           You can answer the question, if you
24      trading?                                          24      understand it.
25              MR. PIERCE: Object to form.               25      A. Just bankruptcy claims? When you

                                             Page 84                                                Page 85
 1                   P. Lupoff                             1               P. Lupoff
 2      say "bankruptcy claim," are you including the      2   25 years. Not within the last week.
 3      whole capitalization of companies, or just         3      Q. Do you recall having had any
 4      trade claims? A distressed investment entity?      4   discussion with Vlad?
 5         Q. Persons who manage funds that focus          5      A. At all?
 6      principally on buying bankruptcy claims.           6          MR. PIERCE: In the 25 years?
 7         A. First of all, there are not that             7   BY MR. CHUBAK:
 8      many that focus principally on buying trade        8      Q. About the subject matter that I'm
 9      claims. But specifically within the last two       9   asking about, specifically whether an
10      weeks, I've talked to two.                        10   enforceable agreement --
11         Q. Can you tell me who those persons           11      A. I don't recall.
12      are.                                              12          MR. PIERCE: You've got to pause.
13         A. Rob Koltai at Hain Capital. That's          13      You have to pause, okay?
14      K-O-L-T-A-I. And Vladimir Jelisavcic. And I       14          THE WITNESS: I'm sorry.
15      will botch his name terribly. It begins with a    15          MR. PIERCE: Object to form.
16      J. His firm is Bowery Capital.                    16      A. I don't recall offhand.
17              MR. PIERCE: Spell that.                   17      Q. Is it fair to say that your belief
18         A. B-O-W-E-R-Y.                                18   that an enforceable agreement exists upon
19         Q. Have you spoken with Vlad about your        19   reaching agreement with a bankrupt -- with a
20      belief that an enforceable agreement exists       20   creditor on price of their bankruptcy claim --
21      upon reaching an agreement with respect to        21   withdrawn.
22      price?                                            22          Is your belief that an enforceable
23              MR. PIERCE: Object to form.               23   agreement exists upon reaching agreement with
24              You can answer.                           24   respect to price and amount of a bankruptcy
25         A. Possibly. Probably in the last              25   claim trade based on your -- based on your --


                                                                            22 (Pages 82 to 85)
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 1                   P. Lupoff                             1               P. Lupoff
 2      based solely on your experience?                   2          You can answer.
 3          A. Can you repeat that.                        3      A. I've seen them and generated them
 4              MR. PIERCE: Object to form. I              4   not requiring execution. I've seen them and
 5          don't think that was a sentence.               5   generated them requiring only my execution.
 6          A. I didn't really understand.                 6   And then I've seen them and generated them with
 7          Q. I'm going to refer you to                   7   two-party execution. And not in all trades
 8      paragraph 18 of your report.                       8   have written confirmations been created, in my
 9              Can you tell me what form a written        9   experiences.
10      confirmation would take following an oral         10      Q. In your experience, what bankruptcy
11      confirmation.                                     11   claim trades that did not have a signed written
12          A. If an oral confirmation, in which          12   confirmation were considered enforceable?
13      I've written this report, could be                13          MR. PIERCE: Object to form. He's
14      face-to-face, by telephone, by e-mail, text.      14      not a lawyer. You're asking a legal
15      And the written confirmation is a longer          15      question.
16      writing, incorporates those terms, typically in   16          You can answer.
17      a one-page or two-page writing.                   17      A. Well, I have thought, based on my
18              A written confirmation will               18   experiences and the people that I've done
19      reiterate price and amount, and then will         19   business with, that my oral commitments, that
20      expand on some additional terms that are          20   oral commitments are enforceable. If I
21      ministerial, that are required in order to        21   understand your question.
22      generate a purchase and sale agreement.           22      Q. Would you consider an oral
23          Q. Is a written confirmation signed by        23   commitment enforceable if the written
24      the parties ordinarily?                           24   confirmation states that it's subject to
25              MR. PIERCE: Object to form.               25   written documentation?

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 1                  P. Lupoff                              1                P. Lupoff
 2              MR. PIERCE: Object to form.                2      A. I'm pretty sure that was the cause
 3              You can answer.                            3   of action verdict in the Fulcrum versus
 4         A. Can you repeat that more time,               4   Strategic failed trade, where I was an expert
 5      please.                                            5   back in 2011.
 6              (Question was read back as follows:        6      Q. Are you aware of any other cases?
 7              "QUESTION: Would you consider an           7      A. Not really looking at case law, no.
 8         oral commitment enforceable if the written      8   I'm sorry.
 9         confirmation states that it's subject to        9          MR. PIERCE: I assume you're
10         written documentation?")                       10      excluding Westinghouse?
11         A. Okay.                                       11          MR. CHUBAK: I'm sorry?
12              MR. PIERCE: I'm sorry. Read it            12          MR. PIERCE: I assume you're
13         again.                                         13      excludeing Westinghouse.
14      BY MR. CHUBAK:                                    14          MR. CHUBAK: He can answer it as he
15         Q. You know what, withdrawn.                   15      wants.
16              MR. PIERCE: Yeah.                         16          MR. PIERCE: I'm just asking for
17      BY MR. CHUBAK:                                    17      clarification. You've written about
18         Q. Are you aware of any lawsuit that           18      Westinghouse in your summary judgment
19      has been brought for breach of duty to            19      motion. It's not a secret.
20      negotiate the bankruptcy claim trade agreement    20          MR. CHUBAK: Sure. Frankly, I would
21      in good faith after the parties reach agreement   21      include Westinghouse within that category.
22      on price?                                         22      But it doesn't matter.
23         A. Yes.                                        23          MR. PIERCE: Maybe I don't
24         Q. Can you identify the lawsuits that          24      understand the category. It's fine.
25      you're aware of.                                  25          Go ahead.


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 1                   P. Lupoff                             1                 P. Lupoff
 2      BY MR. CHUBAK:                                     2       Q. Is that always the case?
 3         Q. I'm going to refer you to                    3       A. I can't say I can speak for all
 4      paragraph 29, where you state: "In my career,      4   buyers of claims, but those that are operating
 5      I only had two or three trades fail to close."     5   professionally and especially if they're
 6         A. Yes.                                         6   regulated entities. I think compliance would
 7         Q. You mentioned one earlier. I                 7   take a dim view of making an oral commitment of
 8      believe it was the rapper --                       8   capital and not putting it on your books.
 9         A. The Daz Dillinger, Death Row                 9           So I would say most well-run,
10      Records.                                          10   regulated financial institutions would, yes.
11         Q. Can you identify the other two              11       Q. In paragraph 31, you state (as
12      claims that you're referring to.                  12   read): "In my opinion, the failure to settle
13         A. Off the top of my head, I cannot. I         13   trade claims is nearly always a matter of bad
14      recall one in my Whitman -- in my time at         14   faith of the original trade claim holding
15      Whitman, where the claimant was small and we      15   seller." And that "This is the financial buyer
16      chose not to pursue a cause of action. But I      16   community's prevailing point of view."
17      don't recall the name of the party or the         17           What is the basis for your statement
18      claim.                                            18   that "this is the financial buyer community's
19         Q. Did any of those result in lawsuits?        19   prevailing point of view"?
20         A. Not to my recollection, no.                 20           MR. PIERCE: Object to form.
21         Q. In the next paragraph, you state            21           You can answer.
22      that a buyer would typically list a known trade   22       A. Discussions I've had with other
23      on its books and portfolio from the date of an    23   players in the market that are more actively
24      oral confirmation?                                24   engaged over the years, that when trade claim
25         A. Yes.                                        25   trades fail to close, it's almost always with

                                             Page 92                                                Page 93
 1                    P. Lupoff                            1                P. Lupoff
 2      an original trade creditor on the other side       2   trade claims? Or about distress investing
 3      that's failing to close. It's not always the       3   generally?
 4      case.                                              4       Q. About the particular issue of failed
 5              But what does seem to be most often        5   trade claims.
 6      the case, and I have a hard time coming up with    6       A. I won't remember that, no.
 7      one that hasn't, it's almost always financially    7       Q. I'm going to refer you to
 8      motivated. The motive of the refusal to close      8   paragraph 33. Where --
 9      is because there's a change, whether it's a        9           MR. PIERCE: I'm sorry. 33?
10      buyer or seller, there's a change in the case     10           MR. CHUBAK: 33.
11      that has changed the value significantly.         11   BY MR. CHUBAK:
12          Q. What players in the market have you        12       Q. Where you describe excuses offered
13      spoken with about this?                           13   by bankruptcy -- by creditors in bankruptcy
14          A. I'm not going to be able to identify       14   cases for not consummating a bankruptcy claim
15      any other than in my course of dealing over the   15   trade following agreement on price.
16      years. I've been involved in this and spoken      16           And specifically, the second-to-last
17      at conferences. Met socially with people in       17   sentence, where you state (as read): "In all
18      the business. It's been part of the dialogue      18   of these circumstances, the seller had agreed
19      of people in our business, generally.             19   to sell and I had agreed to buy."
20          Q. Can you identify which people you've       20           Can you identify failed bankruptcy
21      spoken with about this.                           21   claim trades where you were told that the claim
22          A. Offhand, no.                               22   trade failed because the potential seller might
23          Q. Can you tell me what conferences           23   get an extra penny of purchase price elsewhere?
24      you've spoken at about this.                      24           MR. PIERCE: Object to form.
25          A. About the particular issue of failed       25       A. Well, I'm going to have a hard time


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 1                   P. Lupoff                             1                  P. Lupoff
 2      identifying a specific, other than I think I       2   claim, you do what's commercially reasonable at
 3      mentioned the small supplier to a discount         3   the time.
 4      department store out west that told me             4           And so, in some instances, what may
 5      basically they were judgment-proof, and that       5   be commercially reasonable at the time is to
 6      the claim was too small.                           6   say to the seller, "Is this about price?"
 7              But it has been my experiences that        7           If it's about price, "Tell me the
 8      exclusively, any issue I ever had with             8   price I need to pay for you to live up to your
 9      settlement had to do with price, regardless of     9   obligation."
10      what might have been said about other reasons.    10           And then in some instances, they'll
11      It was almost always that there was a higher      11   say, "Okay. You committed 40. You pay me 45,
12      price or a lower price, depending upon which      12   and we're done."
13      way things were going.                            13       Q. Can you identify any specific trades
14              I can't name any specific, no.            14   in which that happened.
15          Q. Were you involved in any failed            15       A. No.
16      bankruptcy claim trades where someone at the      16       Q. What about with respect to the
17      potential seller's company second-guessed the     17   following sentence: "Hearing an explanation
18      decision to sell, and that resulted in the        18   that they hadn't done sufficient due diligence
19      trade's failure?                                  19   on market value"?
20              MR. PIERCE: Object to form.               20       A. I'm not going to be able to identify
21              Go ahead.                                 21   a specific party that's uttered any one of
22          A. I'll say broadly, with these kinds         22   these things so much as these are the kinds of
23      of expressions, they're all utterances, as best   23   comments I've heard over the years, broadly.
24      I can recall them, close to verbatim, said to     24       Q. When you say you've heard these
25      me, and in many instances, as the buyer of the    25   comments over the years, are you referring to

                                             Page 96                                                Page 97
 1                   P. Lupoff                             1                P. Lupoff
 2      your experience at MJ Whitman?                     2   were involved at several prior employers; is
 3              MR. PIERCE: Object to form.                3   that correct?
 4         A. Not necessarily. Because in some             4      A. Yes.
 5      instances, they come back to me through the        5          MR. PIERCE: Object to form.
 6      broker-dealer, explaining why a trade is taking    6          THE WITNESS: I'm sorry.
 7      time or what's happening, and closing what we      7   BY MR. CHUBAK:
 8      might have been working on.                        8      Q. Given that, I'm going to demand that
 9         Q. Can you recall when you heard --             9   you actually produce the transfers of claim for
10      withdrawn.                                        10   the bankruptcy claims with which you were
11              Have you heard -- what do you --          11   involved.
12      have any trade creditors given you -- I           12          Can you do that for me?
13      apologize. Withdrawn.                             13      A. Is that for me to answer?
14              MR. PIERCE: Jeff, how close are you       14      Q. Yes.
15         to the end? Do you want to take a few          15      A. I can notify all of my prior firms.
16         minutes to see if there are any additional     16   Other than Tiburon, I can't compel people to
17         questions you want to ask?                     17   give me things, but I can request them.
18              MR. CHUBAK: Let's take a couple of        18      Q. You were commanded to produce these
19         minutes. I don't think it's going to take      19   things today. And you're testifying based on
20         more than that.                                20   your experience in the bankruptcy trade claim
21              (Recess is taken.)                        21   business; is that correct?
22      BY MR. CHUBAK:                                    22      A. Yes.
23         Q. You testified earlier that you              23      Q. And you haven't brought these things
24      didn't recall the name of the purchasing entity   24   today?
25      on the bankruptcy claim trades with which you     25      A. I have not.


                                                                            25 (Pages 94 to 97)
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 1                 P. Lupoff                              1                P. Lupoff
 2            MR. PIERCE: Object to form.                 2   involved in that may know nothing about trade
 3     BY MR. CHUBAK:                                     3   claims.
 4        Q. Respectfully, how can you testify            4       Q. Didn't you testify earlier that you
 5     based on your experience if you don't even know    5   were involved in the negotiation of trade
 6     the name of the entity purchasing the              6   documentation?
 7     bankruptcy claim on the Rule 3001 transfer?        7       A. Yes.
 8            MR. PIERCE: Object to form.                 8       Q. Doesn't the trade documentation list
 9        A. There's a vast difference between            9   the name of the purchasing entity?
10     operational and administrative knowledge and      10       A. Yes.
11     market knowledge. The filing of 3001(e) is a      11       Q. But you don't recall the name of the
12     ministerial and operational back office           12   purchasing entity at MJ Whitman or Lehman?
13     function in the firms where I worked. To          13           MR. PIERCE: Object to form.
14     understand, to know that process is not the       14       A. I can hypothesize what they are
15     same thing as understanding value of claims and   15   likely. At MJ Whitman, it was MJ Whitman or MJ
16     how claims trade.                                 16   Whitman Senior Debt Corp., or Whitman Loan
17            And what are the practices in the          17   Corp., or in and around the variation on the
18     industry? The practices in the industry, only     18   theme.
19     very tangentially matter regarding the            19           But what I remember are the
20     ministerial aspects of transfer. The              20   transactions. The ministerial aspects of how
21     ministerial aspect of filing a 3001(e) is a       21   paperwork -- to my thinking, it's almost like
22     very minor, after-the-fact process that isn't     22   confirms on securities. What's printed on it
23     something that people expert in the industry      23   is less relevant than the risk transfers that's
24     are necessarily involved in.                      24   valued properly, and that as an investor in
25            And those that are expert at and           25   trade claims has a product that you're getting

                                           Page 100                                              Page 101
 1                  P. Lupoff                             1                P. Lupoff
 2      at the end of the case the value that you         2      A. Yes.
 3      thought you did in cash and securities.           3      Q. And the subpoena lists a schedule on
 4              The ministerial aspects of it you         4   the last page of items which Earl of Sandwich
 5      can be involved in, understand the minutiae of    5   asked you to produce today.
 6      what a five-day notice period is versus a ten.    6           Do you see that?
 7      Understand how true-ups work. Sign the            7      A. I do.
 8      document at the bottom.                           8      Q. The very first paragraph on Schedule
 9              But what the buying entity is, is         9   1 references purchase and sale agreements for
10      not particular relevant to somebody that's       10   the last 20 bankruptcy claims Peter Lupoff has
11      managing the risk, as long as that risk is       11   been involved in.
12      associated with the vehicle that they run.       12           Do you see that?
13              MR. CHUBAK: I'm done.                    13      A. Yes.
14              (Recess is taken.)                       14      Q. Do you have any purchase and sale
15      EXAMINATION BY                                   15   agreements for bankruptcy claim trades you were
16      MR. PIERCE:                                      16   involved in in your files?
17          Q. This is Clay Pierce from Drinker          17      A. No.
18      Biddle & Reath on behalf of the witness, and     18      Q. What about Rule 3001(e) statements,
19      also on behalf of White Box.                     19   do you have any of those?
20              Mr. Lupoff, you were shown earlier       20      A. No.
21      today a copy of what's been marked as            21      Q. What about documents entitled
22      Exhibit 1.                                       22   "Transfer of Claim" other than for security or
23              Do you have it in front of you?          23   "Notice of Transfer of Claim" other than for
24          A. I do.                                     24   security forms, do you have any of those?
25          Q. Exhibit 1 is the subpoena, correct?       25      A. No.


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 1                    P. Lupoff                           1                P. Lupoff
 2          Q. Who has all of those documents?            2       Q. Okay. And those electronic filings
 3          A. Each of my prior funds where I was         3    are publically available?
 4      employed. I would imagine they have it in         4       A. Yes.
 5      their records.                                    5           MR. PIERCE: No further questions.
 6          Q. Do you have any understanding as to        6           MR. CHUBAK: Nothing further.
 7      whether or not those funds are obligated to       7           (Time Noted: 1:12 p.m.)
 8      produce these documents to you, if you were to    8
 9      ask for them?                                     9
10          A. I don't.                                  10                    ---------------------
11          Q. Okay. Are all of these documents --       11                     PETER LUPOFF
12      strike that.                                     12
13              Is it your understanding that            13    Subscribed and sworn to before me
14      Rule 3001(e) statements are filed                14    this    day of         2018.
15      electronically in bankruptcies where they're     15
16      submitted?                                       16    ---------------------------------------
17          A. To the best of my knowledge, yes.         17
18              (Continued on the following page to      18
19          include jurat.)                              19
20                                                       20
21                                                       21
22                                                       22
23                                                       23
24                                                       24
25                                                       25


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 1                                                        1
 2             CERTIFICATE                                2                  INDEX
 3                                                        3
 4     STATE OF NEW YORK )                                4   WITNESS                            PAGE
 5              ) ss.:                                    5   PETER LUPOFF
 6     COUNTY OF NEW YORK )                               6   MR. CHUBAK                           4
 7                                                        7
 8             I, LISA M. MURACO, a Notary Public         8   MR. PIERCE                         100
 9        within and for the State of New York, do        9
10        hereby certify:                                10            EXHIBITS
11             That PETER LUPOFF, the witness whose      11   DESCRIPTION                            PAGE
12        deposition is hereinbefore set forth, was      12   Lupoff Exhibit 1, subpoena                5
13        duly sworn by me and that such deposition      13
14        is a true record of the testimony given by     14   Lupoff Exhibit 2, Summary and Opinion            18
15        such witness.                                  15   of Peter M. Lupoff
16             I further certify that I am not           16
17        related to any of the parties to this          17
18        action by blood or marriage; and that I am     18
19        in no way interested in the outcome of this    19          INFORMATION REQUESTED
20        matter.                                        20            Page Line
21             IN WITNESS WHEREOF, I have hereunto       21   Report        5 8
22        set my hand this 24th day of August, 2018.     22
23                                                       23
24                 ______________________                24
25                   LISA M. MURACO                      25



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